

Matter of Melody M. (Maya M.) (2024 NY Slip Op 06481)





Matter of Melody M. (Maya M.)


2024 NY Slip Op 06481


Decided on December 20, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, MONTOUR, GREENWOOD, AND KEANE, JJ.


858 CAF 23-01989

[*1]IN THE MATTER OF MELODY M. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT;
andMAYA M., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






CAITLIN M. CONNELLY, BUFFALO, FOR RESPONDENT-APPELLANT.
BENJAMIN E. MANNION, BUFFALO, FOR PETITIONER-RESPONDENT.
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (REBECCA CONSIDINE OF COUNSEL), ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered October 23, 2023, in a proceeding pursuant to Family Court Act article 10. The order, among other things, adjudged that respondent neglected the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: December 20, 2024
Ann Dillon Flynn
Clerk of the Court








